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PROB 12A
DMTRevS-18                                                                               FILED
                    UNITED STATES DISTRICT COURT
                                              FOR                                        JUN O4 20~U
                                DISTRICT OF MONTANA                                      Clerk, U.S Courts
                                                                                         District Of Montana
                                                                                          Missou la Division
                        Report on Offender Under Supervision

Name of Offender: Kenneth Chandler                          Docket Number: 0977 9:15CR00001-002

Name of Sentencing Judicial Officer: THE HONORABLE DANA L. CHRISTENSEN
                                        UNITED STATES DISTRICT JUDGE

Date of Original Sentence: 09/03/2015

Original Offense: 21 :841A=CD.F; CONTROLLED SUBSTANCE - SELL - DISTRIBUTE - OR
DISPENSE

Original Sentence: 70 months custody, 60 months supervised release

Type of Supervision: Supervised Release                  Date Supervision Commenced: 11/22/2019


                              NON-COMPLIANCE SUMMARY

Background

On 09/03/2015, the defendant appeared for sentencing before THE HONORABLE DANA L.
CHRISTENSEN, UNITED STATES DISTRICT JUDGE, having pled guilty to the offenses of
21 :841A=CD.F; CONTROLLED SUBSTANCE- SELL - DISTRIBUTE - OR DISPENSE. The offense
involved the defendant distributing methamphetamine in the Kalispell area. The defendant was
sentenced to 70 months custody, followed by 60 months supervised release. The defendant began
the current term of supervised release on 11/22/2019.

The probation officer believes the offender has violated the following condition(s) of
supervision:

 Violation Number      Nature of Noncompliance
 1                     Mandatory condition: You must refrain from any unlawful use of a
                       controlled substance. You must submit to one drug test within 15 days of
                       release from imprisonment and at least two periodic drug tests thereafter,
                       as determined by the court.

                       The defendant contacted the undersigned officer and admitted to
                       consuming methamphetamine on 5/22/2020.

U.S. Probation Officer Action:

The defendant admitted to his methamphetamine use before being tested and will enroll in
substance abuse and mental health treatment with Western Montana Mental Health in Kalispell.
The defendant has completed RDAP while in BOP custody and TDAP while at the Great Falls
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RRC. The undersigned officer requests the defendant's supervision to continue unchanged while
attending treatment.


 Reviewed                                           Respectfully Submitted

 By:                                                By:


       Derek Hart                                             Evin Hansen
       Supervising United States Probation                    United States Probation Officer
       Officer
       Date: 06/03/2020                                       Date: 06/03/2020


                                        ORDER OF COURT

r   Submit a Request for Modifying the Condition or Term of Supervision
1   Submit a Request for Warrant or Summons
~ Agrees with U.S. Probation Officer' s recommendati n




                                                   Dana L Christensen
                                                   United States District Judge

                                                          1                  Date
